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                          UNITED STATES DISTRICT COURT
                         NORTHERN DISTRICT OF NEW YORK

CHRISTINA LEWIS, Individually and on Behalf
of All Others Similarly Situated,                          No. 1:19-cv-00001-GTS-ATB
                                     Plaintiff,
       v.

YRC WORLDWIDE INC., et al.,

                                     Defendants.


                             STIPULATION OF SETTLEMENT

       WHEREAS capitalized terms in this Stipulation of Settlement have the meanings

ascribed to them in Section I below; and

       WHEREAS, on January 2, 2019, Christina Lewis filed the above-captioned securities

class action against YRC Worldwide Inc. and several of its present or former officers or directors

alleging violations of the Exchange Act; and

       WHEREAS, on April 25, 2019, the Court appointed City of Warwick Retirement Fund

and Peter Szabo as Lead Plaintiffs and the law firms of Kaplan Fox & Kilsheimer LLP and

Pomerantz LLP as Lead Counsel for the putative Class; and

       WHEREAS, on June 19, 2019, Lead Plaintiffs filed the Complaint in the Action against

YRC and four of its present or former officers or directors (James L. Welch, Jamie G. Pierson,

Stephanie D. Fisher, and Darren D. Hawkins) asserting claims under the Exchange Act; and

       WHEREAS, on July 15, 2019, Defendants moved to dismiss the Complaint in its

entirety; and

       WHEREAS, on March 27, 2020, the Court granted Defendants’ motion in its entirety and

dismissed all claims in the Action; and
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       WHEREAS, on April 27, 2020, Lead Plaintiffs filed a notice of appeal to the Second

Circuit from the dismissal of the Action; and

       WHEREAS the Settling Parties fully briefed the appeal, and the Second Circuit

tentatively scheduled it for a hearing during the week of March 22, 2021; and

       WHEREAS, with the appeal pending, the Settling Parties participated in two full days of

mediation with a mediation team led by retired California Superior Court Judge Daniel

Weinstein on February 1 and 2, 2021; and

       WHEREAS, at the end of the February 2, 2021 mediation session, the Settling Parties

reached an agreement in principle on the primary terms of a settlement, which was subject to

various conditions; and

       WHEREAS, on February 5, 2021, the Settling Parties informed the Second Circuit of the

status of their settlement negotiations and asked the Second Circuit to remand the case to the

Court for eventual consideration of the proposed settlement and to retain jurisdiction over the

appeal in case the proposed settlement does not receive final approval; and

       WHEREAS the Second Circuit granted the motion on February 10, 2021; and

       WHEREAS the Settling Parties negotiated the full terms of a settlement, with such

negotiations resulting in the execution of this Stipulation of Settlement and its exhibits; and

       WHEREAS, throughout the pendency of the Action and the Settlement negotiations,

Lead Plaintiffs and Defendants have been advised by various consultants and experts, including

individuals with expertise in estimating potential damages in cases involving allegations of

securities-law violations, and by competent counsel with experience in securities lawsuits such

as this Action; and




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       WHEREAS, based upon Lead Counsel’s investigation and evaluation of the facts and law

relating to the claims alleged in this Action, Lead Counsel’s pre- and post-filing investigations,

and Lead Counsel’s consultation with experts, Lead Plaintiffs and Lead Counsel have agreed to

settle the Action and release the Releasees as to the Released Class Claims pursuant to the terms

of this Settlement Agreement and subject to its terms and conditions (including the completion of

Due-Diligence Discovery) after considering, among other things: (i) the substantial benefits that

the terms of the proposed Settlement would provide to Class Members; (ii) the attendant risks of

litigation, especially in complex actions such as this one; (iii) the defenses available to

Defendants; (iv) the difficulties and delays inherent in such litigation; (v) the desirability of

consummating this Settlement Agreement promptly to provide effective relief to Class Members;

and (vi) Lead Plaintiffs’ and Lead Counsel’s belief, to be verified through the Due-Diligence

Discovery, that the proposed Settlement is fair, reasonable, and adequate and in the best interests

of Class Members, particularly in light of the Court’s dismissal of the Action; and

       WHEREAS Defendants do not concede any wrongdoing or liability in connection with

any facts or Claims that have been, could have been, or could be alleged in the Action, but they

nevertheless prefer that the Action be settled and dismissed because the proposed Settlement

would, among other things: (i) bring to an end the substantial expense, burdens, and

uncertainties associated with continued litigation of the asserted Claims; (ii) finally put to rest

those Claims and the underlying matters; and (iii) confer substantial benefits upon Defendants,

including avoidance of further disruption of the management and operation of YRC’s business

due to the pendency and defense of the Action; and

       WHEREAS this Settlement Agreement, the offer of this Settlement Agreement, and

compliance with this Settlement Agreement shall not constitute or be construed to be an



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admission by Defendants or the other Releasees, or any of them individually, of any wrongdoing

or liability; and

        WHEREAS, except as otherwise provided in this Settlement Agreement, this Settlement

Agreement shall not be admissible in any judicial, administrative, or other proceeding or cause of

action as an admission of liability or for any purpose other than to enforce the terms of this

Settlement Agreement;

        NOW, THEREFORE, IT IS HEREBY STIPULATED AND AGREED, by and among

the undersigned, including Lead Plaintiffs (individually and in their representative capacity) and

Defendants, by and through their duly authorized counsel, that, subject to the Court’s approval

and such approval’s becoming Final, (i) the Action and the matters raised in it are hereby settled

and compromised as to Defendants, and (ii) the Action will be dismissed with prejudice as to

Defendants based upon the terms and conditions set forth in this Settlement Agreement,

including, among other things, that, as set out in the Release, the Released Class Claims will be

released as to the Releasees and the Released Releasees’ Claims will be released as to the

Releasors.

I.      DEFINITIONS

        A.      As used in this Settlement Agreement, the following terms have the meanings set

forth herein:

                1.     “Action” means the securities class action now pending in this Court and

captioned Lewis v. YRC Worldwide Inc., Case No. 1:19-cv-00001-GTS-ATB (N.D.N.Y),

previously on appeal as No. 20-1427-cv (2d Cir.).

                2.     “Affiliate” or “Affiliated” means such persons or entities as are defined in

17 C.F.R. Part 210.1-02(b).



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               3.      “Approval Order” means the order to be entered by the Court finally

approving the Settlement and dismissing the Complaint and all Claims in the Action as

contemplated in Section XIII of this Settlement Agreement, which order the Settling Parties shall

ask the Court to enter substantially in the form set out as Exhibit B.

               4.      “Attorneys’ Fees and Expenses Application” means the motion for fees

and expenses to be made by Lead Counsel as set out in Section X below.

               5.      “Attorneys’ Fees and Expenses Award” means the amount that the Court

awards to Lead Counsel on behalf of all Plaintiffs’ Counsel to compensate for Plaintiffs’

Counsel’s fees and expenses in connection with investigating, prosecuting, and/or settling the

Action, as provided for in Section X below.

               6.      “Authorized Claimant” means a Class Member (or the representative of

such Class Member, including agents, administrators, executors, heirs, predecessors, successors,

Affiliates, or assigns) whose claim for recovery from the Net Settlement Amount has been

allowed pursuant to the terms of this Settlement Agreement.

               7.      “Business Day” means a day other than a Saturday, Sunday, or Legal

Holiday.

               8.      “CAFA” means the Class Action Fairness Act of 2005, 28 U.S.C.

§§ 1332(d) and 1715.

               9.      “Claim” or “Claims” means any and all actions, causes of action,

proceedings, adjustments, executions, offsets, contracts, judgments, obligations, suits, debts,

dues, sums of money, accounts, reckonings, bonds, bills, specialties, variances, covenants,

trespasses, damages, demands (whether written or oral), agreements, promises, liabilities,

controversies, costs, expenses, attorneys’ fees, and any losses whatsoever, whether in law, in



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admiralty, or in equity, and whether based on any United States federal, state, or common-law

right of action or foreign statutory or common-law right of action or otherwise, foreseen or

unforeseen, matured or unmatured, known or unknown, accrued or not accrued, existing now or

to be created in the future, including Unknown Claims.

               10.     “Claim Form” means the form, as approved by the Court, that Class

Members will use to submit claims under the procedures set out in this Settlement Agreement,

which form the Settling Parties shall ask the Court to approve substantially as set out as

Exhibit G.

               11.     “Claims Administrator” means, subject to Court approval and appointment

in the Preliminary Approval Order, A.B. Data, Ltd.

               12.     “Class” or “Class Members” means, for purposes of this Settlement, all

persons and entities who, during the Class Period, purchased or otherwise acquired YRC

Securities, and who were damaged thereby. Excluded from the Class are:

                       a.      such persons or entities who submit valid and timely requests for

exclusion from the Class;

                       b.      such persons or entities who, while represented by counsel, settled

an actual or threatened lawsuit or other proceeding against one or more of the Releasees arising

out of or related to the Released Class Claims; and

                       c.      YRC and (i) all officers and directors of YRC during the Class

Period (including James L. Welch, Jamie G. Pierson, Stephanie D. Fisher, and Darren D.

Hawkins), (ii) YRC’s Affiliates, subsidiaries, successors, and predecessors, (iii) any entity in

which YRC or any individual identified in subpart (i) has or had during the Class Period a




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Controlling Interest, and (iv) for the individuals identified in subpart(s) (i), (ii), and/or (iii), their

Family Members, legal representatives, heirs, successors, and assigns.

                13.     “Class Period” means the period from March 10, 2014 through

December 14, 2018, inclusive.

                14.     “Complaint” means the [Corrected] Amended Class Action Complaint

filed in the Action on June 19, 2019.

                15.     “Complete Bar Order” means the bar order, the text of which is set forth in

paragraph 19 of the Approval Order (Exhibit B).

                16.     “Confidentiality Agreement” means the Confidentiality Agreement in the

form entered into by Lead Plaintiffs and Defendants, a copy of which is attached as Exhibit H.

                17.     “Controlling Interest” means an interest in an entity where such interest is

sufficient to allow the interest holder directly or indirectly to direct or cause the direction of the

management and policies of the entity, whether through the ownership of voting shares, by

contract, or otherwise. Any disputes as to whether YRC or any other Releasee has a Controlling

Interest in an entity or whether an entity has a Controlling Interest in YRC or any other Releasee

shall, solely for purposes of determining whether a Controlling Interest exists under this

Settlement Agreement, be submitted to the Mediator for final, binding resolution, and the party

claiming that the interest is a Controlling Interest for purposes of this Settlement Agreement shall

bear the burden of proof as to that issue.

                18.     “Court” means the United States District Court for the Northern District of

New York.

                19.     “Defendants” means YRC, James L. Welch, Jamie G. Pierson,

Stephanie D. Fisher, and Darren D. Hawkins.



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               20.     “Defendants’ Counsel” means Proskauer Rose LLP.

               21.     “Due-Diligence Discovery” means the information that YRC will provide

to Lead Plaintiffs as described in Section II below.

               22.     “Escrow Account” means the account described in Section III into which

the Settlement Amount shall be paid. The Escrow Account shall be treated for tax purposes as a

Qualified Settlement Fund, as described below.

               23.     “Escrow Agent” means Huntington National Bank, which shall act as

escrow agent for the Escrow Account.

               24.     “Exchange Act” means the Securities Exchange Act of 1934, as amended.

               25.     “Execution Date” means the date by which this Settlement Agreement has

been executed by all Settling Parties.

               26.     “Fairness Hearing” means the hearing at or after which the Court will

make a final decision, pursuant to Fed. R. Civ. P. 23, as to whether this Settlement Agreement is

fair, reasonable, and adequate to settle the Class Members’ Claims against Defendants and the

other Releasees and whether the Court should approve the proposed Settlement; provided that

the Fairness Hearing shall be scheduled for a date that is no fewer than one hundred ten (110)

days following the Preliminary Approval Date. It is within the Court’s discretion to hold the

Fairness Hearing in person, telephonically, or by videoconference.

               27.     “Family Members” means an individual’s father, mother, grandfather,

grandmother, sister, brother, spouse/partner, son, and/or daughter, and any other person living in,

or a member of, such an individual’s household.

               28.     “Final” means, when used in connection with any court order or judgment,

that the relevant order or judgment will be final:



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                       a.      if no appeal is taken therefrom, on the date on which the time to

appeal therefrom (including any potential extension of time) has expired;

                       b.      if any appeal is taken therefrom, on the date on which all appeals

therefrom – including petitions for rehearing or reargument, petitions for rehearing en banc,

petitions for certiorari or any other form of review, and any related appeals or petitions,

including as to any appeal bond – have been finally disposed of, such that the time to appeal

therefrom (including any potential extension of time) has expired, in a manner resulting in an

affirmance of the relevant order or judgment.

                29.    “Final Settlement Date” means the date on which the Approval Order and

the Judgment become Final.

                30.    “GAAP” means generally accepted accounting principles.

                31.    “Investment Decision” means any decision regarding an investment in

YRC Securities during the Class Period, including a decision to hold such securities during the

Class Period.

                32.    “Judgment” means the Judgment entered by the Court as contemplated in

Section XIII of this Settlement Agreement, which Judgment the Settling Parties shall ask the

Court to enter substantially in the form set out as Exhibit C.

                33.    “Lead Counsel” means the law firms of Kaplan Fox & Kilsheimer LLP

and Pomerantz LLP.

                34.    “Lead Plaintiffs” means City of Warwick Retirement Fund and Peter

Szabo, in their individual capacity and as representatives of the Class.

                35.    “Legal Holiday” means New Year’s Day, the observance of the Birthday

of Martin Luther King, Jr., Presidents’ Day, Memorial Day, Independence Day, Labor Day,



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Columbus Day, Veterans Day, Thanksgiving Day, Christmas Day, and any other day designated

as a federal observed holiday.

               36.     “Long-Form Notice” means the notice, as approved by the Court and as

described in Section IV and in the Preliminary Approval Order, that informs potential Class

Members of the Settlement contemplated by this Settlement Agreement, which notice the

Settling Parties shall ask the Court to approve substantially in the form set out as Exhibit E.

               37.     “Mediator” means the retired California Superior Court Judge Daniel

Weinstein, or, if he is unavailable, someone of similar stature upon whom the Settling Parties

agree.

               38.     “Net Settlement Amount” means the Settlement Fund less (i) any Tax

Expenses paid or owing, (ii) any Notice and Administrative Expenses paid or owing, and (iii) the

Attorneys’ Fees and Expenses Award and the PSLRA Award.

               39.     “Nominees” means brokerage firms, banks, and other institutions that hold

YRC Securities in street name or other similar fashion for the benefit of other persons or entities.

               40.     “Notice and Administrative Expenses” means any and all expenses (other

than Plaintiffs’ Counsel’s fees and expenses) associated with the administration of the Settlement

contemplated by this Settlement Agreement, including the Claims Administrator’s fees and

expenses and all other fees and expenses associated with (i) printing and sending the Postcard

Notice, Long-Form Notice, and Claim Form to potential Class Members, (ii) publishing the

Summary Notice, (iii) assisting Class Members with filing Claim Forms, (iv) processing Claim

Forms, (v) setting up and maintaining a toll-free telephone number for potential Class Members

to call, (vi) operating a settlement website, and (vii) distributing the Net Settlement Amount, as




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well as (viii) any reasonable costs, fees, and expenses incurred in connection with the Escrow

Account.

               41.     “Notice Program” means the program for informing potential Class

Members about the proposed Settlement, including the Postcard Notice, the Long-Form Notice,

the Claim Form, the Summary Notice, and the manner of delivering and publishing such notices

or forms.

               42.     “Operative Facts” means those facts and circumstances that provide the

factual predicate for the claims asserted in the Action and shall include the following to the

extent they provide the bases for the claims asserted in the Action:

                       a.      any alleged violations of the federal False Claims Act, any state-

law analogue of that statute, any consumer-protection law, or any principle of contract law by

YRC or any YRC Affiliate in connection with charges to customers for freight shipping, and/or

any alleged knowledge by any Releasee of such alleged conduct including as alleged in the

Complaint at ¶¶ 11, 17, 93-129, 482-86;

                       b.      any alleged misconduct concerning charges for the weight of

freight shipped (including through reweighing and elimination of “negative reweighs”), charges

for the amount of freight shipped (e.g., charging for a full truckload even if the truck was not

full), misclassification of freight, imposition of allegedly improper fees or surcharges (including

fuel surcharges), targeting of particular customers for overcharges, incentivization of employees

to accumulate reweighs, and criticism of employees for adjusting weights and charges in favor of

customers including as alleged in the Complaint at ¶¶ 8-10, 12-13, 61-92, 101-68;

                       c.      any alleged failure to disclose, or concealment of, the

U.S. Department of Justice investigation into the matters described in the action captioned



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United States ex rel. Hannum v. YRC Freight, Inc., Civ. Action No. 08-0811(A) (W.D.N.Y.),

including the U.S. Department of Justice’s complaint in intervention, including the magnitude of

potential liability to the U.S. Government, including as alleged in the Complaint at ¶¶ 15, 169-

74, 183-91, 199g;

                       d.      any recordkeeping and information systems relating to reweighs

and other customer charges including as alleged in the Complaint at ¶¶ 117-22;

                       e.      financial reporting and conformance (or alleged nonconformance)

with accounting principles generally accepted in the United States (“GAAP”) concerning

allegedly improper recognition of revenues and allegedly inflated reported operating revenue,

operating income, and net income (or understating operating loss or net loss), and any statements

about conformity to GAAP and compliance with other legal requirements including as alleged in

the Complaint at ¶¶ 9, 14-15, 67, 71, 175-93, 216-19, 273-74, 325-26, 385-86, 443-44;

                       f.      YRC’s internal controls over financial reporting, or its governance,

policies, practices, procedures, and internal controls (including its Code of Business Conduct),

including any deficiencies and weaknesses in, or compliance or purported noncompliance with,

any of them, including as alleged in the Complaint at ¶¶ 194-97, 512-14;

                       g.      any disclosures, statements, representations, communications, or

omissions during the Class Period – whether in SEC filings or Sarbanes-Oxley certifications, at

industry or investor conferences, or in analyst meetings, earnings calls, or otherwise – about

business operations, financial results, revenue recognition, reserves, business strategy, pricing,

customers’ needs, commitment, contingencies, legal matters, and internal control over financial

reporting, including any alleged failure to disclosure that purported misconduct was materially




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misstating YRC’s business, operations and financial results including as alleged in the Complaint

at ¶¶ 15, 198-481;

                       h.      any alleged inflation or decline in the price of YRC Securities

during the Class Period that is related to or arises out of the alleged conduct and/or topics

described in Sections I.A.42.a.-g above including as alleged in the Complaint at ¶¶ 15-16, 18;

                       i.      any Claims under Exchange Act §§ 10(b) and/or 20(a) and/or SEC

Rule 10b-5 arising out of the alleged conduct and/or topics described in Sections I.A.42.a-g

above during the Class Period including as alleged in the Complaint at ¶¶ 539-54;

                       j.      any Claims related to sales of YRC Securities by any Releasees

during the Class Period, including any Claims under Exchange Act §§ 10(b), 20(a), or 20A or

SEC Rule 10b-5 relating to such sales, to the extent that such Claims are related in any way to

the alleged conduct and/or topics described in Sections I.A.42.a-g above including as alleged in

the Complaint at ¶¶ 16, 28, 32, 35, 39, 491-93;

                       k.      Releasees’ knowledge of the alleged conduct described in

Sections I.A.42.a-g above including as alleged in the Complaint at ¶¶ 487-89, 497-514; and

                       l.      Releasees’ alleged motive to commit securities fraud in connection

with any of the matters described in Sections I.A.42.a.-g above including as alleged in the

Complaint at ¶¶ 490-96.

               43.     “Plaintiffs’ Counsel” means Lead Counsel, Bond Schoeneck & King,

PLLC, local counsel for Lead Plaintiffs and the Class, and Bronstein Gewirtz & Grossman LLC,

additional counsel for Peter Szabo.

               44.     “Plan of Allocation” means the terms and procedures for allocating the

Net Settlement Amount among, and distributing it to, Authorized Claimants as the Court shall



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approve. Lead Plaintiffs shall ask the Court to approve a Plan of Allocation substantially in the

form set out in the Long-Form Notice (Exhibit E).

               45.     “Postcard Notice” means the notice, as approved by the Court and as

described in Section IV and in the Preliminary Approval Order, that Lead Counsel will cause the

Claims Administrator to disseminate to potential Class Members informing them of the

Settlement contemplated by this Settlement Agreement, which notice the Settling Parties shall

ask the Court to approve substantially in the form set out as Exhibit D.

               46.     “Preliminary Approval Date” means the date on which the Preliminary

Approval Order is entered on the Court’s docket.

               47.     “Preliminary Approval Order” means the order concerning, among other

things, preliminary approval of the proposed Settlement, certification of the Class solely for

settlement purposes, provision of notice of the proposed Settlement, administration of the

proposed Settlement, and scheduling of the Fairness Hearing, which order the Settling Parties

shall ask the Court to enter substantially in the form set out as Exhibit A.

               48.     “PSLRA” means the Private Securities Litigation Reform Act of 1995, as

codified in the Exchange Act.

               49.     “PSLRA Award” means the amount that the Court awards to Lead

Plaintiffs pursuant to the PSLRA, 15 U.S.C. § 78u-4(a)(4), to compensate them for their

reasonable costs and expenses directly relating to the representation of the Class.

               50.     “PSLRA Award Application” means the application by which Lead

Plaintiffs shall seek a PSLRA Award, as provided for in Section XI below.




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               51.     “PSLRA Contribution Bar Order” means the statutory bar order, the text

of which is set forth in paragraph 18 of the Approval Order (Exhibit B), to be entered by the

Court pursuant to Section 21D(f)(7)(A) of the Exchange Act.

               52.     “Qualified Settlement Fund” means a fund within the meaning of Treasury

Regulation § 1.468B-1.

               53.     “Released Class Claims” means each and every Claim that (i) arises from

or relates to the Action (including all Claims alleged in the Complaint) and is asserted against the

Releasees or (ii) could have been or could be asserted against any of the Releasees in connection

with or relating directly or indirectly to any of the Operative Facts or any alleged statements

about, mischaracterizations of, or omissions concerning them, whether arising under any federal,

state, or other statutory or common-law rule or under any foreign law, in any court, tribunal,

agency, or other forum, and such Claim arises out of or relates to the purchase or other

acquisition of YRC Securities, or to any other Investment Decision, during the Class Period;

provided, however, that the term “Released Class Claims” does not include (and will not release

or impair) (i) any shareholder derivative action, including without limitation the claims asserted

in Bhandari v. Carty, No. 2021-0090 (Del. Ch.), or (ii) any claims to enforce this Settlement

Agreement.

               54.     “Released Releasees’ Claims” means each and every Claim that has been,

could have been, or could be asserted in the Action or in any other proceeding by any Releasee,

including Defendants and their successors and assigns, or his, her, or its respective estates, heirs,

executors, agents, attorneys (including in-house counsel, outside counsel, and Defendants’

Counsel), beneficiaries, accountants, professional advisors, trusts, trustees, administrators, and

assigns, against Lead Plaintiffs, any other Class Members, or any of their respective attorneys



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(including, without limitation, Plaintiffs’ Counsel), including their successors and assigns, or his,

her, its, or their respective estates, heirs, executors, agents, attorneys (including in-house counsel

and outside counsel), beneficiaries, accountants, professional advisors, trusts, trustees,

administrators, and assigns, and that arises out of or relates in any way to the initiation,

prosecution, or settlement of the Action or the implementation of this Settlement Agreement;

provided, however, that Released Releasees’ Claim shall not include any Claim to enforce the

Settlement Agreement.

                55.     “Releasee” means each and every one of, and “Releasees” means all of,

(i) YRC, (ii) YRC Affiliates, (iii) each of YRC’s and YRC Affiliates’ current and former officers

(including Messrs. Welch, Pierson, and Hawkins and Ms. Fisher), directors, employees, agents,

representatives, any and all in-house counsel and outside counsel (including Defendants’

Counsel), advisors, administrators, accountants, accounting advisors, auditors, consultants,

assigns, assignees, beneficiaries, representatives, partners, successors-in-interest, insurance

carriers, reinsurers, parents, affiliates, subsidiaries, successors, predecessors, fiduciaries, service

providers, and investment bankers and any entities in which YRC or any YRC Affiliate has or

had a Controlling Interest or that has or had a Controlling Interest in YRC or any YRC Affiliate,

and (iv) for each of the foregoing Releasees, (y) to the extent the Releasee is an entity, each of its

current and former officers, directors, employees, agents, representatives, any and all in-house

counsel and outside counsel (including Defendants’ Counsel), advisors, administrators,

accountants, accounting advisors, auditors, consultants, assigns, assignees, beneficiaries,

representatives, partners, successors-in-interest, insurance carriers, reinsurers, parents, affiliates,

subsidiaries, successors, predecessors, fiduciaries, service providers, and investment bankers,

and any entities in which any Releasee has or had a Controlling Interest or that has or had a



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Controlling Interest in the Releasee and (z) to the extent the Releasee is an individual, each of his

or her Family Members, estates, heirs, executors, beneficiaries, trusts, trustees, agents,

representatives, attorneys, advisors, administrators, accountants, consultants, assigns, assignees,

representatives, partners, successors-in-interest, insurance carriers, and reinsurers.

                56.    “Releasor” means each and every one of, and “Releasors” means all of,

(i) Lead Plaintiffs, (ii) all other Class Members, and (iii) for each of the foregoing Releasors,

their respective heirs, executors, administrators, predecessors, successors, and assigns, in their

capacities as such, or any person purporting to assert a Released Class Claim on behalf of, for the

benefit of, or derivatively for any such Releasors, provided that Releasors shall not include any

YRC shareholder to the extent that such person or entity seeks to assert a derivative claim on

behalf of YRC.

                57.    “Second Circuit” means the United States Court of Appeals for the Second

Circuit.

                58.    “Settlement” means the settlement contemplated by this Settlement

Agreement.

                59.    “Settlement Agreement” means this Stipulation of Settlement and any

accompanying exhibits, including any subsequent amendments thereto and any exhibits to such

amendments.

                60.    “Settlement Amount” means two million one hundred thousand dollars

($2,100,000).

                61.    “Settlement Fund” means the Settlement Amount, plus any interest that

has accrued on the Settlement Amount on deposit in the Escrow Account.




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               62.     “Settling Parties” means Lead Plaintiffs (on behalf of themselves and the

Class Members) and Defendants.

               63.     “Summary Notice” means the notice described in Section IV, which notice

the Settling Parties shall ask the Court to approve substantially in the form set out as Exhibit F.

               64.     “Supplemental Agreement” means the agreement entered into by the

Settling Parties through their respective counsel that is referenced in Section XIV.D below. The

Settling Parties agree to keep the Supplemental Agreement confidential and not to disclose it or

file it with the Court unless (i) the Court otherwise orders or (ii) a dispute arises among the

Settling Parties concerning the Supplemental Agreement’s interpretation or application. If the

Supplement Agreement must be provided to the Court, the Settling Parties shall seek leave to

submit it in camera or to file it under seal.

               65.     “Tax Expenses” means (i) all taxes on the income of the monies in the

Escrow Account and (ii) any expenses and costs incurred in connection with the taxation of the

Escrow Account (including expenses of tax attorneys and accountants).

               66.     “Termination Threshold” means the threshold of requests for exclusion (as

specified in the Supplemental Agreement) that give rise to Defendants’ right to terminate the

Settlement Agreement pursuant to Section XIV.D.

               67.     “Unknown Claims” means any and all Released Class Claims that any

Lead Plaintiff or any other Class Member does not know or suspect to exist in his, her, or its

favor at the time of the release of the Releasees, and any Released Releasees’ Claims that any

Releasee does not know or suspect to exist in his, her, or its favor at the time of the release of the

Releasors, which, if known by a Lead Plaintiff, a Class Member, or a Releasee, might have

affected his, her, or its decision concerning the Settlement. As to any and all Released Class



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Claims and Released Releasees’ Claims, the Settling Parties stipulate and agree that, upon the

Final Settlement Date, Lead Plaintiffs and Defendants shall expressly waive, and each other

Class Member, Releasor, and Releasee shall be deemed to have waived, and by operation of the

Approval Order and the Judgment shall have expressly waived, any and all provisions, rights,

and benefits conferred by any law of any state or territory of the United States or of any other

country, or any principle of common law, that is similar, comparable, or equivalent to Cal. Civ.

Code § 1542, which provides:

               A general release does not extend to claims which the creditor or
               releasing party does not know or suspect to exist in his or her favor
               at the time of executing the release and that, if known by him or
               her would have materially affected his or her settlement with the
               debtor or released party.

Lead Plaintiffs and Defendants acknowledge, and the other Class Members and Releasees by

operation of law shall be deemed to have acknowledged, that the inclusion of “Unknown

Claims” in the definition of Released Class Claims and Released Releasees’ Claims was

specifically considered and bargained for and was a key element of the Settlement.

               68.     “YRC” means YRC Worldwide Inc., now known as Yellow Corporation.

               69.     “YRC Affiliate” means any Affiliate, holding company, or subsidiary of

YRC, and any other person or entity affiliated with YRC through direct or indirect ownership of

YRC shares.

               70.     “YRC Securities” means publicly traded securities issued by YRC.

       B.      Capitalized Terms

               1.      Capitalized terms used in this Settlement Agreement, but not defined

above, shall have the meaning ascribed to them in this Settlement Agreement.




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II.     DUE-DILIGENCE DISCOVERY

        A.     Subject to the provisions of the Confidentiality Agreement, YRC will provide

Lead Counsel with reasonable Due-Diligence Discovery regarding the claims in the Complaint to

allow Lead Plaintiffs and Lead Counsel to determine whether the proposed Settlement is fair,

reasonable, and adequate.

        B.     Due-Diligence Discovery shall consist of (i) documents relevant to the claims in

the Complaint and, if the Settling Parties agree, (ii) at least one interview of a relevant YRC

official.

        C.     Due-Diligence Discovery will begin within 25 days following entry of the

Preliminary Approval Order and shall last for a period of 60 days.

        D.     Any disputes regarding Due-Diligence Discovery (including any disputes about

the content of that discovery or the YRC official(s) to be informally interviewed) shall be

submitted to the Mediator for final, binding resolution.

        E.     Due-Diligence Discovery may be used only in accordance with the terms of the

Confidentiality Agreement and solely for purposes of assessing whether the proposed Settlement

is fair, reasonable, and adequate, and for no other purpose.

        F.     Subject to Sections XIV and XV below, if the Due-Diligence Discovery

contemplated by this Section II causes Lead Plaintiffs and Lead Counsel reasonably and in good

faith to conclude that the proposed Settlement Agreement is not fair, reasonable, and adequate,

Lead Plaintiffs will have the right to terminate this Settlement Agreement within 10 days

following the conclusion of the Due-Diligence Discovery.




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III.    TERMS AND CONDITIONS OF THE SETTLEMENT

        A.     Payment of Settlement Amount

               1.     YRC will pay or cause to be paid the Settlement Amount into the Escrow

Account within twenty (20) Business Days following the Preliminary Approval Date.

               2.     If the Settlement Amount is not paid into the Escrow Account within

twenty (20) Business Days following the Preliminary Approval Date, Lead Counsel shall notify

Defendants’ Counsel that the payment has not occurred, and YRC shall have five (5) Business

Days to comply or obtain compliance with the obligation to pay the Settlement Amount into the

Escrow Account in accordance with the provisions of the preceding paragraph. If payment still

has not occurred after the additional period of five (5) Business Days, Lead Plaintiffs may,

subject to Section XV below, terminate this Settlement Agreement.

        B.     Escrow Account

               1.     With five (5) Business Days following the Execution Date, Lead Counsel

shall establish the Escrow Account.

               2.     The Escrow Account shall be under the control of Lead Counsel, which

shall be solely responsible for overseeing it and the Escrow Agent.

               3.     Subject to the limitations specified in this Section, the Escrow Agent shall

disburse proceeds of the Escrow Account only upon the written instruction of Lead Counsel.

Before the Final Settlement Date, and without further approval from Defendants or order of the

Court, the Escrow Agent may, pursuant to Lead Counsel’s written authorization, make payments

of up to two hundred thousand dollars ($200,000) out of the Escrow Account solely for

reasonable Notice and Administrative Expenses that are incurred and become due and payable

before the Final Settlement Date, and for no other purpose. Any payments beyond that amount,



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or for any other purpose, before the Final Settlement Date require YRC’s approval or an order of

the Court.

               4.      The Escrow Agent shall (i) administer the Escrow Account, (ii) invest the

Settlement Amount in instruments backed by the full faith and credit of the United States

Government or fully insured by the United States Government or an agency thereof, and

(iii) reinvest the proceeds of those instruments as they mature in similar instruments at their then-

current market rates. The Escrow Agent shall bear all risks related to the investment of the

amounts in the Escrow Account made in accordance with the guidelines set forth in this

paragraph.

               5.      If the Settlement Agreement is terminated as provided in this Settlement

Agreement, the Escrow Agent shall, within ten (10) Business Days following receipt of written

notice of such termination from Defendants’ Counsel, return all monies then held in the Escrow

Account (including any interest that has accrued) to YRC or as instructed by Defendants’

Counsel; provided that, before returning the monies pursuant to this Section III.B.5, Lead

Counsel shall advise Defendants’ Counsel of any outstanding Notice and Administrative

Expenses that are in progress or due for payment, and, upon the written consent of Defendants’

Counsel (which consent shall not be unreasonably withheld), the Escrow Agent shall pay such

expenses from the Escrow Account.

               6.      Upon the occurrence of the Final Settlement Date, and subject to

Section XV below, no portion of the Settlement Amount shall revert to YRC or any other

Defendant, and no Defendant, Releasee, or any other person or entity who or that paid any

portion of the Settlement Amount shall have any right to the return of the settlement money paid

into the Escrow Account, or any portion thereof, for any reason whatsoever, including, without



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limitation, the number of Claim Forms submitted, the collective amount of Recognized Claims

of Authorized Claimants under the Plan of Allocation, the percentage of recovery of losses, or

the amounts to be paid to Authorized Claimants from the Net Settlement Amount.

               7.        The Escrow Account and the funds it contains shall be deemed and

considered to be in custodia legis of the Court and shall remain subject to the Court’s jurisdiction

until such time as they shall be distributed pursuant to this Settlement Agreement and/or further

order(s) of the Court.

               8.        Except as provided in Section III.B.3, any dispute about payments to be

made out of the Escrow Account before the Final Settlement Date will be submitted to the

Mediator for final, binding resolution.

       C.      Qualified Settlement Fund

               1.        All necessary steps to enable the Escrow Account to be treated as a

Qualified Settlement Fund for tax purposes shall be taken, including the timely filing by the

Claims Administrator of all elections and statements required for tax purposes pursuant to Treas.

Reg. §§ 1.468B-0 through 1.468B-5, or any other relevant statutes, regulations, or published

rulings now or hereafter enacted or promulgated, for all taxable years of the Escrow Account,

beginning with the date of its establishment. The Claims Administrator shall be the

“administrator” of the Qualified Settlement Fund for tax purposes under Treas. Reg. §§ 1.460B-0

through 1.468B-5, shall file or cause to be filed on a timely basis any required federal, state, and

local tax returns, and shall cause any taxes due on the income of the Qualified Settlement Fund

and any other Tax Expenses to be paid from the Escrow Account. The Settling Parties agree that

the Escrow Account shall be treated as a Qualified Settlement Fund, as provided in Treas. Reg.

§§ 1.468B-0 through 1.468B-5, from the earliest date possible, and hereby agree to any relation-



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back election required to treat the Escrow Account as a Qualified Settlement Fund from the

earliest date possible. In no event shall Defendants have any responsibility whatsoever for filing

elections, other required statements, or tax returns, or for paying the costs associated therewith,

any taxes due, or the expenses of notice or administration of the Escrow Account. Lead Counsel

and Defendants’ Counsel shall cooperate to the extent necessary to comply with this Section III.

Upon request by Lead Counsel, YRC shall promptly provide the statement described in Treasury

Regulation § 1.468B-3(e).

               2.      Upon request by Defendants’ Counsel, the Claims Administrator shall

promptly provide to Defendants’ Counsel all information requested in connection with (i) any

tax returns that YRC or any other Releasee must file or (ii) any other report or filing that YRC or

any other Releasee must make concerning the Settlement Amount or any portion of it.

       D.      Distribution of the Net Settlement Amount

               1.      If the proposed Settlement becomes Final, the Net Settlement Amount

shall be distributed pursuant to such Plan of Allocation as the Court approves.

               2.      No person or entity shall have any Claim against Lead Plaintiffs,

Plaintiffs’ Counsel, the Claims Administrator, the Escrow Agent, or any of their agents, or

against Defendants or any other Releasee (including Defendants’ Counsel), relating to or arising

out of any distributions or lack thereof made under any Court-approved Plan of Allocation, this

Settlement Agreement, or orders of the Court.

               3.      The Settling Parties understand and agree that, notwithstanding any other

provision of this Settlement Agreement, a court-ordered or court-approved change to the Plan of

Allocation shall not operate to modify, terminate, or cancel this Settlement Agreement or affect




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the finality of the Approval Order and the Judgment or any other orders entered by the Court

giving effect or pursuant to this Settlement Agreement.

               4.      Development of the Plan of Allocation shall be exclusively the

responsibility of Lead Plaintiffs and Lead Counsel.

               5.      Defendants, the other Releasees, and their respective counsel, including

Defendants’ Counsel, shall have no role in, responsibility for, or liability as to or in connection

with, and shall take no position on, (i) the Plan of Allocation, (ii) the form, substance, method, or

manner of allocation, administration, or distribution of the Net Settlement Amount, (iii) any tax

liability that a Class Member might incur as a result of this Settlement Agreement, or (iv) the

result of any action taken pursuant to this Settlement Agreement, the administration or

processing of claims (including determinations as to the validity of Claim Forms), the amounts

of claims or distribution of the Net Settlement Amount, or (except as set out above) the

maintenance of the Escrow Account as a Qualified Settlement Fund.

               6.      Class Members shall look solely to the Net Settlement Amount for

settlement and satisfaction of all Released Class Claims and only to the extent expressly

provided by this Settlement Agreement, the Court-approved Plan of Allocation, or an order of

the Court. Under no circumstances will any of the Settling Parties or any Releasee be

responsible for the payment of any fees, costs, expenses, or other funds associated with or arising

out of the Settlement contemplated by this Settlement Agreement other than as provided herein.

       E.      Implementation of the Plan of Allocation

               1.      All cash distributions to Authorized Claimants shall be paid from the Net

Settlement Amount pursuant to a Plan of Allocation approved by the Court.




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               2.     The Plan of Allocation is not a necessary term of this Settlement

Agreement, and this Settlement Agreement is not conditioned on the approval of any particular

plan of allocation.

               3.     To receive a cash distribution from the Net Settlement Amount pursuant to

any approved Plan of Allocation, a Class Member must be an Authorized Claimant pursuant to

the procedures set out in this Settlement Agreement or by order of the Court.

               4.     Unless otherwise authorized by the Court, each Class Member who wishes

to receive a distribution from the Net Settlement Amount must complete and submit a Claim

Form, as directed in the Postcard Notice, Long-Form Notice, Summary Notice, and Claim Form.

The Claim Form must be postmarked or received no later than the date stated in the Claim Form

(unless otherwise allowed by Lead Counsel or the Court), must be sent to the address stated in

the Claim Form, and must be accompanied by adequate supporting documentation as described

in the Claim Form.

               5.     The Claim Form must be executed subject to the penalties of perjury

pursuant to 28 U.S.C. § 1746.

               6.     The validity of each submitted Claim Form will initially be determined by

the Claims Administrator in accordance with the Plan of Allocation approved by the Court. The

Claims Administrator shall advise the Class Member in writing if it determines to reject the

claim. Lead Counsel shall have the right, but not the obligation, to advise the Claims

Administrator to waive, in the interests of achieving substantial justice, what Lead Counsel

deems to be formal or technical defects in any Claim Forms submitted. Lead Counsel, its

designees or agents, Lead Plaintiffs, Defendants’ Counsel, Defendants, the other Releasees, and

their counsel shall not have any liability arising out of any such determinations. Persons who



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timely submit a Claim Form that is deficient or otherwise rejected shall be afforded a reasonable

time (at least twenty (20) days) to cure such deficiency if it appears to be potentially curable.

               7.      If any Class Member whose claim has been rejected in whole or in part

desires to contest such rejection, the Class Member must, within twenty (20) days after the date

of such rejection, submit to the Claims Administrator a notice and statement of reasons

explaining the Class Member’s grounds for contesting the rejection, along with any supporting

documentation. If a dispute concerning a claim cannot be otherwise resolved, Lead Counsel

shall thereafter present the request for review to the Court.

               8.      Each Class Member or other claimant shall be deemed to have submitted

to the jurisdiction of the Court with respect to his, her, or its claim, and the claim will be subject

to investigation and discovery under the Federal Rules of Civil Procedure; provided, however,

that such investigation and discovery shall be limited to that claimant’s status as a Class Member

and the validity and amount of the claimant’s claim. No discovery shall be allowed on the merits

of this Action or of the Settlement in connection with the processing of claims.

               9.      Lead Counsel will apply to the Court, on notice to Defendants’ Counsel,

for a Class Distribution Order (a) approving the Claims Administrator’s administrative

determinations concerning the acceptance and rejection of the claims submitted; (b) approving

payment of any administration fees and expenses associated with the administration of the

Settlement from the Escrow Account; and (c) if the Final Settlement Date has occurred, directing

payment of the Net Settlement Amount to Authorized Claimants from the Escrow Account.

               10.     Payment pursuant to the Class Distribution Order shall be final and

conclusive against all Claimants. All Class Members whose claims are not approved by the

Court for payment shall be barred from participating in distributions from the Net Settlement



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Amount, but otherwise shall be bound by all of the terms of this Settlement Agreement and the

Settlement, including the terms of the Approval Order and Judgment, to be entered in this Action

and the Releases provided for herein and therein.

               11.     The administration of the Escrow Account and the Net Settlement

Amount, and decisions on all disputed questions of law and fact concerning the validity of any

Claim Form or regarding the rejection or amount of any claim, shall remain under the

jurisdiction of the Court. All Class Members and Settling Parties expressly waive trial by court

or jury (to the extent any such right might exist) and any right of appeal or review as to the

Court’s determinations. Any Class Member pursuing a dispute shall be responsible for his, her,

or its own costs, including attorneys’ fees, incurred in pursuing the dispute.

               12.     The Net Settlement Amount shall not be distributed to Authorized

Claimants until the Final Settlement Date has occurred.

               13.     Unless otherwise ordered by the Court or otherwise provided for herein,

any Class Member who fails to submit a valid and timely Claim Form shall be barred from

receiving a distribution from the Net Settlement Amount, but shall nevertheless be bound by the

Release and all proceedings, orders, and judgments in the Action even if he, she, or it has

pending, or subsequently initiates, any litigation, arbitration, or other proceeding, or has any

Claim, against any or all of the Releasees that is a Released Class Claim.

IV.    NOTICE TO THE CLASS

       A.      Individual Notice

               1.      Subject to the requirements of the Preliminary Approval Order, and in

accordance with all applicable laws, Lead Counsel shall cause the Claims Administrator to mail

by first-class mail a copy of the Postcard Notice to all potential Class Members who can be



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identified through reasonable efforts, including by review of depositary institutions’ records and

any other inquiries conducted by the Claims Administrator.

               2.     The Claims Administrator will also post the Individual Notice and Claim

Form on its website by no later than the date on which the first Postcard Notices are mailed to

potential Class Members.

               3.     By no later than five (5) Business Days following the entry of the

Preliminary Approval Order, YRC shall, at its own cost, provide or cause its transfer agent(s) to

provide to the Claims Administrator lists of all persons and entities that purchased YRC

Securities during the Class Period, so that the Claims Administrator can provide notice to such

potential Class Members. To the extent practicable, the shareholder lists shall be in electronic

form (such as Excel) and shall contain the names and addresses (and, if available, email

addresses) of all potential Class Members who can be identified through reasonable efforts from

YRC’s and/or its transfer agents’ records.

       B.      Summary Notice

               1.     Subject to the requirements of the Preliminary Approval Order, and in

accordance with all applicable laws, the Claims Administrator shall cause a copy of the

Summary Notice to be published one time in Investor’s Business Daily as well as on the

PRNewswire.

       C.      CAFA Notice

               1.     No later than ten (10) calendar days following the filing of this Settlement

Agreement with the Court, Defendants shall cause notice to be provided to United States federal

and state officials if and to the extent required by CAFA. YRC is solely responsible for the costs

of the CAFA notice and administering the CAFA notice. At least seven (7) calendar days before



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the Fairness Hearing, Defendants shall cause to be served on Lead Counsel and filed with the

Court proof, by affidavit or declaration, regarding compliance with the notice requirements of

CAFA.

               2.      The Settling Parties shall request a schedule for the Fairness Hearing that

is consistent with the notice periods prescribed in CAFA. The Settling Parties agree that any

delay by Defendants in timely serving the CAFA notice will not provide grounds for delay of the

Fairness Hearing or entry of the Approval Order or Judgment.

        D.     Notice Costs

               1.      All expenses incurred in connection with the provision of the Postcard

Notice and Long-Form Notice and the publication of the Summary Notice will be paid from the

Settlement Amount.

               2.      YRC shall be solely responsible for the costs associated with providing

CAFA notice, if any.

V.      CLAIMS ADMINISTRATOR

        A.     As provided in the Preliminary Approval Order, the Claims Administrator shall

assist Lead Plaintiffs and Lead Counsel in administering and implementing the Settlement

contemplated by this Settlement Agreement. YRC shall cooperate in the administration of the

Settlement Agreement to the extent reasonably necessary to effectuate its terms (but not

including any acts that the Claims Administrator, Lead Plaintiffs, and/or Lead Counsel are

required to undertake pursuant to this Settlement Agreement).

        B.     The Claims Administrator shall perform various tasks as directed by Lead

Counsel, including: (i) printing the Postcard Notice, Long-Form Notice, and Claim Form and

mailing them to potential Class Members, (ii) arranging for publication of the Summary Notice,

(iii) posting the Postcard Notice, Long-Form Notice, Claim Form, and other documents relevant

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to the Settlement and the Action on a website for the Settlement, (iv) answering written inquiries

from potential Class Members and/or forwarding such inquiries to Lead Counsel, (v) providing

additional copies of the Postcard Notice, Long-Form Notice, and Claim Form, upon request, to

Nominees or potential Class Members, (vi) receiving and maintaining any requests for exclusion

from the Settlement from potential Class Members, (vii) receiving and processing Claim Forms

from Class Members, (viii) mailing or causing to be mailed to Authorized Claimants their

distributions under the Plan of Allocation, (ix) operating a toll-free telephone number with access

to operators to answer inquiries from potential Class Members and/or to forward such inquiries

to Lead Counsel, and training staff members and operators about the proposed Settlement and

the Plan of Allocation, and (x) otherwise administering and implementing this Settlement

Agreement.

          C.   As ordered by the Court in the Preliminary Approval Order, the Claims

Administrator shall establish and staff with representatives knowledgeable about this Settlement

Agreement and the Plan of Allocation a toll-free telephone number for responding to inquiries

from potential Class Members about this Settlement Agreement and any issues relating to the

Action.

          D.   Except as otherwise set out in this Settlement Agreement, all administration

expenses associated with implementing the Settlement, including the Claims Administrator’s

fees and expenses, will be paid from the Settlement Amount in the Escrow Account.

          E.   Defendants have not had any involvement in, and shall not have any liability for,

the selection of the Claims Administrator.

VI.       COMMUNICATIONS REGARDING THE SETTLEMENT

          A.   Subject to Section VI.B below, and except to the extent certain disclosures have

already been made, no further disclosure of the Settlement or its terms will be made by the

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Settling Parties, Lead Counsel, or Defendants’ Counsel before the Settlement Agreement is

submitted to the Court for preliminary approval unless the Court or the Second Circuit requires

such disclosure before such submission.

       B.      Notwithstanding Section VI.A above, nothing shall prevent YRC from

determining, in its sole discretion, to disclose the Settlement and/or its terms before the

submission of the Settlement Agreement to the Court for preliminary approval or to make

whatever disclosures it believes are required or appropriate, including in its SEC filings or to its

regulators, stock exchanges, attorneys, accountants, and insurers; provided, however, that YRC

shall inform Lead Counsel in advance of any such public disclosure made before the Settlement

Agreement is filed with the Court.

       C.      Each Settling Party shall have the opportunity to review any other Settling Party’s

press release(s) (if any), and any press releases or public statements (other than court filings,

including the PSLRA notices) issued by Lead Plaintiffs or Lead Counsel concerning the

proposed Settlement or YRC must be approved by YRC, which approval shall not be

unreasonably withheld.

       D.      The Settling Parties shall cooperate in good faith to ensure that any media

statements regarding the Settlement are balanced, fair, accurate, and nondisparaging.

       E.      The Settling Parties, Lead Counsel, and Defendants’ Counsel agree that they will

refrain from asserting that the Action was brought or defended in bad faith.

       F.      Except as provided in the Postcard Notice, Long-Form Notice, and Summary

Notice or in court filings in support of Court approval of this Settlement, the Settling Parties,

Lead Counsel, and Defendants’ Counsel agree that none of them will comment publicly on the

merits of the Claims or defenses asserted in the Action except in the most general terms in the



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context of supporting or commending the Settlement terms; provided, however, that nothing in

this Section VI shall preclude Releasees from denying liability. Nothing in this Settlement

Agreement shall prevent YRC (or other Releasees) from announcing the existence of the

Settlement and its potential impact (if any) on YRC’s financial performance, as YRC may deem

appropriate for securities-law purposes (including by way of SEC filing or press release). Nor

shall this Settlement Agreement prevent YRC (or other Releasees) from publicly stating,

including but not limited to responding to questions from investors, analysts, customers, or

others, that it denies Lead Plaintiffs’ allegations, has asserted defenses in the Action, has

prevailed on its motion to dismiss, and has entered into the Settlement to avoid the further

expense and distraction of continued litigation.

        G.     YRC retains the right to communicate with its shareholders in the normal course

of business.

VII.    REQUESTS FOR EXCLUSION

        A.     Any potential Class Member who wishes to be excluded from the Class must mail

by first-class mail, or otherwise deliver, a written request for exclusion to the Claims

Administrator at the address provided in the Postcard Notice, Long-Form Notice, or Summary

Notice, which exclusion request must be received no later than twenty-eight (28) days before the

Fairness Hearing, or as the Court may otherwise direct. A list of the persons and entities who

have validly and timely requested exclusion from the Class shall be provided by the Settling

Parties to the Court at or before the Fairness Hearing.

        B.     A potential Class Member’s request for exclusion must include the following

information: (i) name, (ii) address, (iii) telephone number, (iv) email address, if available, (v) a

statement that the potential Class Member wishes to request exclusion from the Class in Lewis v.

YRC Worldwide Inc., No. 1:19-cv-00001-GTS-ATB (N.D.N.Y.), (vi) the number of shares of

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YRC Securities held as of opening of trading on March 10, 2014 and purchased or otherwise

acquired and/or sold during the Class Period, (vii) price(s) paid or value at receipt, and, if sold,

the sales price(s), (viii) the date of each such transaction involving each such security, and

(ix) the signature of the person or entity requesting exclusion or an authorized representative. A

request for exclusion shall not be effective unless it provides all the required information as

described above and is received within the time stated above, or is otherwise accepted by the

Court.

         C.    Unless otherwise ordered by the Court, any Class Member who does not submit a

timely written request for exclusion as provided by this Section VII shall be bound by the

Release and by all proceedings, orders, and judgments in the Action, even if he, she, or it has

pending or subsequently initiates any litigation, arbitration, or other proceeding, or has any other

Claim, against any or all of the Releasees relating to any of the Released Class Claims.

         D.    Lead Plaintiffs agree that they and their Affiliates will not request exclusion from

the Class or the Settlement.

VIII.    OBJECTIONS TO SETTLEMENT

         A.    Any Class Member who wishes to object to the fairness, reasonableness, or

adequacy of this Settlement Agreement, to any term(s) of this Settlement Agreement, to the Plan

of Allocation, to the Attorneys’ Fees and Expenses Application, and/or to the PSLRA Award

Application must both serve on Lead Counsel and Defendants’ Counsel and file with the Court a

statement of his, her, or its objection(s); provided, however, that a potential Class Member who

requests exclusion from the Class shall not be entitled to submit an objection. Any such

objection must be received by Lead Counsel, Defendants’ Counsel, and the Court by no later

than twenty-eight (28) days before the Fairness Hearing, or as the Court may otherwise direct.



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        B.      The Class Member’s statement of objection shall state the specific reason(s), if

any, for each objection, including any legal support the Class Member wishes to bring to the

Court’s attention and any evidence the Class Member wishes to introduce in support of such

objection and shall state whether the objection applies only to the objector, to a specific subset of

the Class, or to the entire Class. In addition to the reason(s) for the objection, an objection must

also include the following information about the Class Member: (i) name, (ii) address,

(iii) telephone number, (iv) email address, if available, (v) number of shares of YRC Securities

held as of opening of trading on March 10, 2014 and purchased or otherwise acquired and/or

sold during the Class Period, (vi) price(s) paid or value at receipt, and, if sold, the sales price(s),

(vii) the date of each such transaction involving each such security, and (viii) account statements

verifying all such transactions.

        C.      Any Class Member may file an objection on his, her, or its own, or through an

attorney hired at his, her, or its own expense. If a Class Member hires an attorney to represent

him, her, or it in connection with filing an objection, the attorney must both serve on Lead

Counsel and Defendants’ Counsel and file with the Court a notice of appearance. Subject to the

requirements of the Preliminary Approval Order, any such notice of appearance must be received

by Lead Counsel, Defendants’ Counsel, and the Court by no later than twenty-eight (28) days

before the Fairness Hearing, or as the Court may otherwise direct.

        D.      Any Class Member who files and serves a written objection pursuant to this

Section – and, unless otherwise ordered by the Court, only such Class Members – may appear at

the Fairness Hearing, either directly or through counsel hired at the Class Member’s expense, to

object to the fairness, reasonableness, or adequacy of this Settlement Agreement, to any term(s)

of this Settlement Agreement, to the Plan of Allocation, to the Attorneys’ Fees and Expenses



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Application, or to the PSLRA Award Application. Class Members or their attorneys intending to

make an appearance at the Fairness Hearing must both serve on Lead Counsel and Defendants’

Counsel and file with the Court a notice of intention to appear. Any such notice must be

received by Lead Counsel, Defendants’ Counsel, and the Court by no later than twenty-eight (28)

days before the Fairness Hearing, or as the Court may otherwise direct. The Court has discretion

to allow appearances at the Fairness Hearing either in person, by telephone, or by

videoconference.

       E.      Any Class Member who fails to comply with any of the provisions of this

Section VIII shall waive and forfeit any and all rights he, she, or it might otherwise have to

appear separately at the Fairness Hearing and/or to object to this Settlement Agreement, the Plan

of Allocation, the Attorneys’ Fees and Expenses Application, or the PSLRA Award Application,

and shall be bound by all the terms of this Settlement Agreement and by all proceedings, orders,

and judgments in the Action.

IX.    RELEASE AND WAIVER

       A.      Pursuant to the Approval Order and the Judgment, without further action by

anyone, and subject to Section IX.D below, on and after the Final Settlement Date, Lead

Plaintiffs and all other Class Members (whether or not a Claim Form has been executed and/or

delivered by or on behalf of any such Class Member), on behalf of themselves and the other

Releasors, for good and sufficient consideration, the receipt and adequacy of which are hereby

acknowledged, shall be deemed to have, and by operation of law and of the Approval Order and

the Judgment shall have, fully, finally, and forever released, relinquished, settled, and

discharged:

               1.      all Released Class Claims against each and every one of the Releasees;



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               2.      all Claims, damages, and liabilities as to each and every one of the

Releasees to the extent that any such Claims, damages, or liabilities relate in any way to any or

all acts, omissions, nondisclosures, facts, matters, transactions, occurrences, or oral or written

statements or representations in connection with, or directly or indirectly relating to, (i) the

prosecution, defense, or settlement of the Action, (ii) this Settlement Agreement or its

implementation, (iii) the Settlement terms and their implementation, (iv) the provision of notice

in connection with the proposed Settlement, and/or (v) the resolution of any Claim Forms

submitted in connection with the Settlement; and

               3.      all Claims against any of the Releasees for attorneys’ fees, costs, or

disbursements incurred by Plaintiffs’ Counsel or any other counsel representing Lead Plaintiffs

or any other Class Member in connection with or related in any manner to the Action, the

settlement of the Action, or the administration of the Action and/or its Settlement, except to the

extent otherwise specified in this Settlement Agreement.

       B.      Pursuant to the Approval Order and the Judgment, without further action by

anyone, and subject to Section IX.D below, on and after the Final Settlement Date, each and

every Releasee, including Defendants’ Counsel, for good and sufficient consideration, the receipt

and adequacy of which are hereby acknowledged, shall be deemed to have, and by operation of

law and of the Approval Order and the Judgment shall have, fully, finally, and forever released,

relinquished, settled, and discharged each and all Releasors, including Lead Counsel, from any

and all Released Releasees’ Claims, except to the extent otherwise specified in this Settlement

Agreement.

       C.      Pursuant to the Approval Order and the Judgment, without further action by

anyone, and subject to Section IX.D below, on and after the Final Settlement Date, Plaintiffs’



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Counsel, on behalf of themselves, their heirs, executors, administrators, predecessors, successors,

Affiliates, and assigns, and any person or entity claiming by, through, or on behalf of any of

them, for good and sufficient consideration, the receipt and adequacy of which are hereby

acknowledged, shall be deemed to have, and by operation of law and of the Approval Order and

the Judgment shall have, fully, finally, and forever released, relinquished, settled, and discharged

Defendants, Defendants’ Counsel, and all other Releasees from any and all Claims that relate in

any way to any or all acts, omissions, nondisclosures, facts, matters, transactions, occurrences, or

oral or written statements or representations in connection with, or directly or indirectly relating

to, (i) the prosecution, defense, or settlement of the Action, (ii) this Settlement Agreement or its

implementation, or (iii) the Settlement terms and their implementation.

       D.      Notwithstanding Sections IX.A, IX.B, and IX.C above, nothing in the Approval

Order or the Judgment shall bar any action or Claim by the Settling Parties or their counsel to

enforce the terms of this Settlement Agreement, the Approval Order, or the Judgment.

       E.      The releases and waivers contained in this Section were specifically considered

and bargained for and are essential elements of this Settlement Agreement.

X.     ATTORNEYS’ FEES AND EXPENSES

       A.      Lead Counsel will submit to the Court for approval an Attorneys’ Fees and

Expenses Application in which Lead Counsel will apply to the Court for a collective award of

attorneys’ fees to Plaintiffs’ Counsel and for payment or reimbursement of Plaintiffs’ Counsel’s

litigation expenses incurred in the Action. Lead Counsel’s Attorneys’ Fees and Expenses

Application is not the subject of any agreement between Defendants and Lead Plaintiffs other

than as set forth in this Settlement Agreement.

       B.      The Attorneys’ Fees and Expenses Award will be paid to Lead Counsel as set out

in this Section X.

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       C.      Any Attorneys’ Fees and Expenses Award shall be paid to Lead Counsel solely

from the Settlement Amount immediately after the Court has entered both the Approval Order

and the Attorneys’ Fees and Expenses Award, notwithstanding the existence of any timely filed

objections thereto, or potential for appeals therefrom, or collateral attack on the Settlement or

any part thereof; provided, however, that Plaintiffs’ Counsel jointly and severally must return the

amount of the Attorneys’ Fees and Expense Award (plus any interest earned on it) to the Escrow

Account (or to YRC if the Escrow Account has been closed) within twenty (20) Business Days if

(i) the Settlement is terminated after payment has been made or (ii) as a result of any objection,

appeal, or further proceedings on remand, or successful collateral attack, the Attorneys’ Fees and

Expenses Award is reduced or reversed and such order reducing or reversing the award has

become Final. No Releasee shall have any responsibility for, or liability relating to, any

obligation of Lead Counsel to make appropriate refunds or repayments to the Escrow Account

(including any interest that must be refunded).

       D.      An Attorneys’ Fees and Expenses Award is not a necessary term of this

Settlement Agreement and is not a condition of the Settlement embodied herein. Neither Lead

Plaintiffs nor Lead Counsel may cancel or terminate the Settlement based on this Court’s or any

appellate court’s ruling with respect to the Attorneys’ Fees and Expenses Application.

       E.      No Releasee shall be liable or obligated to pay any fees, expenses, costs, or

disbursements to, or incur any expense on behalf of, any person or entity (including Lead

Plaintiffs and Lead Counsel), directly or indirectly, in connection with the Action or this

Settlement Agreement, except as expressly provided for in this Settlement Agreement. No

Releasee shall have any responsibility or liability for payment of any such fees or expenses

beyond the obligation to cause the Settlement Amount to be paid.



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         F.    Lead Counsel shall allocate the attorneys’ fees portion of the Attorneys’ Fees and

Expenses Award among Plaintiffs’ Counsel in a manner that they, in good faith, believe reflects

the contributions of such counsel to the institution, prosecution, and settlement of the Action. No

Releasee shall have any responsibility whatsoever in connection with the allocation of the

Attorneys’ Fees and Expenses Award between or among Plaintiffs’ Counsel or any other counsel

purporting to represent any Class Member, or any counsel asserting a right to receive a portion of

the Attorneys’ Fees and Expenses Award or any other amount of attorneys’ fees or expenses in

connection with this Action.

XI.      PSLRA AWARD

         A.    Lead Plaintiffs may submit a PSLRA Award Application to the Court for

approval, which PSLRA Award Application will take into account the time spent by Lead

Plaintiffs in pursuing the Action (including, without limitation, the time spent consulting with

Lead Counsel and reviewing documents, filings, and factual materials in the Action) as well as

any other expenses incurred by Lead Plaintiffs directly related to their representation of the

Class.

         B.    Any PSLRA Award made to Lead Plaintiffs shall be paid to them from the

Settlement Amount immediately after the Court has entered both the Approval Order and the

PSLRA Award, notwithstanding the existence of any timely filed objections thereto, or potential

for appeals therefrom, or collateral attack on the Settlement or any part thereof; provided,

however, that Lead Plaintiffs must return the amount of the PSLRA Award (plus any interest

earned on it) to the Escrow Account (or to YRC if the Escrow Account has been closed) within

twenty (20) Business Days if (i) the Settlement is terminated after payment has been made or

(ii) as a result of any appeal or further proceedings on remand, or successful collateral attack, the



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PSLRA Award is reduced or reversed, and such order reducing or reversing the award has

become Final.

XII.     PRELIMINARY APPROVAL

         A.     Within twenty (20) days following the Execution Date, Lead Plaintiffs shall move

the Court for entry of the Preliminary Approval Order, which motion shall be unopposed by

Defendants.

         B.     Lead Plaintiffs and Defendants stipulate to the certification of the Class and

certification of Lead Plaintiffs as representatives of the Class and Lead Counsel as class counsel

for the Class solely for the purpose of this proposed Settlement. If the proposed Settlement is not

approved by the Court or is not consummated for any other reason, Defendants reserve the right

to oppose certification of the Class, or any other class, and to oppose certification or appointment

of Lead Plaintiffs as representatives of, and Lead Counsel as counsel for, the Class, or any other

class, in the Action.

XIII.    FINAL APPROVAL AND FINAL JUDGMENT

         A.     Lead Plaintiffs and Defendants shall jointly request that the Court enter the

Approval Order and the Judgment upon the Court’s approval of the Settlement contemplated by

this Settlement Agreement.

XIV. MODIFICATION OR TERMINATION OF THIS SETTLEMENT AGREEMENT

         A.     The terms and provisions of this Settlement Agreement may be amended or

expanded by written agreement of the Settling Parties; provided, however, that, after entry of the

Approval Order and the Judgment, Lead Counsel, on behalf of Lead Plaintiffs and the Class, and

Defendants’ Counsel, on behalf of Defendants, may by written agreement effect any

amendments, modifications, or expansions of this Settlement Agreement and its implementing

documents (including all exhibits to this Settlement Agreement) without notice to or approval by

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the Court only if such changes are not materially inconsistent with the Approval Order and

Judgment and do not materially limit the rights of Class Members under this Settlement

Agreement.

       B.      Mutual Termination Rights

               1.      Subject to Section XIV.B.2 below, this Settlement Agreement will

terminate at the sole option and discretion of Defendants and/or Lead Plaintiffs (on behalf of

themselves and the Class) if (i) the Court, or any appellate court(s), rejects, modifies, or denies

approval of any portion of this Settlement Agreement or the proposed Settlement that the

terminating Settling Party reasonably and in good faith determines is material, including the

terms of relief, the findings of the Court, the provisions relating to notice, the definition of the

Class, the Complete Bar Order, the permanent injunction, and/or the terms of the Release, or

(ii) the Court, or any appellate court(s), does not enter or completely affirm, or alters or expands,

any portion of the Preliminary Approval Order, the Approval Order, or the Judgment that the

terminating Settling Party reasonably and in good faith believes is material. If the Settling

Parties disagree about whether a change is material, they will submit the dispute to the Mediator

for a final, binding decision. In any of the above circumstances, the terminating Settling Party

must exercise the option to withdraw from and terminate this Settlement Agreement, as provided

in this Section, no later than thirty (30) days after receiving actual notice of the event prompting

the termination.

               2.      Notwithstanding the preceding Section XIV.B.1, neither Lead Plaintiffs

nor Lead Counsel may terminate this Settlement Agreement on the basis of the Court’s order(s)

addressing the Attorneys’ Fees and Expenses Application and/or the PSLRA Award Application,




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or on the basis of any modification of the Attorneys’ Fees and Expenses Award and/or the

PSLRA Award by any appellate court(s).

        C.     Lead Plaintiffs’ Termination Rights

               1.      In addition to the other termination rights described in Section XIV.B,

Lead Plaintiffs have the termination rights specified in Section II.F (concerning Due-Diligence

Discovery) and Section III.A (concerning nonpayment of Settlement Amount) above.

        D.     Defendants’ Termination Rights

               1.      In addition to having the right to terminate this Settlement Agreement as

provided in Section XIV.B above, and without limiting any other rights under this Settlement

Agreement, Defendants may unilaterally withdraw from and terminate this Settlement

Agreement if requests for exclusion are received from potential Class Members in an amount

that meets or exceeds the Termination Threshold as set out in the Supplemental Agreement.

Defendants must exercise any such right by no later than fourteen (14) calendar days before the

Fairness Hearing.

               2.      The Claims Administrator shall promptly notify Lead Counsel and

Defendants’ Counsel of all requests for exclusion submitted by potential Class Members and

shall also provide Lead Counsel and Defendants’ Counsel with copies of any such requests for

exclusion and the supporting information and documentation submitted by such persons or

entities.

               3.      Lead Counsel shall have the right to communicate with any persons or

entities that submit requests for exclusion. If any of those persons or entities withdraws his, her,

or its request for exclusion such that the Termination Threshold is no longer met, Lead Counsel




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will immediately inform Defendants’ Counsel, and the election termination (if made) will

automatically become null and void and of no further effect.

       E.      Effect of Termination

               1.      If this Settlement Agreement is terminated in accordance with any

provision of this Section XIV, the Settlement Agreement shall be withdrawn from, terminated,

and deemed to be null and void, and the provisions of Section XV of this Settlement Agreement

shall apply.

XV.    GENERAL MATTERS AND RESERVATIONS

       A.      If an option to withdraw from and terminate this Settlement Agreement arises

under this Settlement Agreement, (i) neither Defendants nor Lead Plaintiffs will be required for

any reason or under any circumstance to exercise that option, and (ii) if any Settling Party

exercises the option to withdraw from or terminate the Settlement, the terminating Settling Party

shall do so in good faith.

       B.      If (i) this Settlement Agreement does not become Final or is otherwise terminated

pursuant to its terms, (ii) the Releases set out in Section IX do not become effective, or (iii) the

Settlement does not become Final by operation of law, then:

               1.      This Settlement Agreement shall be null and void and shall have no force

or effect, and no party to this Settlement Agreement shall be bound by any of its terms, except

for the terms set out in this Section XV.B;

               2.      This Settlement Agreement, all of its provisions, and all negotiations,

statements, and proceedings relating to it (including the agreement in principle reached on

February 2, 2021) shall be without prejudice to the rights of Defendants, any other Releasee,

Lead Plaintiffs, or any other Class Member, all of whom shall be restored to their respective

positions existing immediately before the execution of this Settlement Agreement, except with

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respect to the payment of such Tax Expenses and Notice and Administrative Expenses that have

been actually expended or incurred as described in Sections III, IV, and V above;

               3.     Releasees expressly and affirmatively reserve all defenses, motions, and

arguments as to all Claims that have been or might later be asserted in the Action, including any

argument that the Action may not be litigated as a class action;

               4.     Lead Plaintiffs and all other Class Members expressly and affirmatively

reserve all motions as to, and arguments in support of, all Claims that have been or might later be

asserted in the Action, including any argument concerning class certification;

               5.     Neither this Settlement Agreement nor the fact of its having been made

shall be admissible or entered into evidence for any purpose whatsoever, with the exception of

enforcement of this Section XV.B;

               6.     The terms and provisions of the Confidentiality Agreement as set out in

Exhibit H shall continue in full force and effect, and the use of information obtained in Due-

Diligence Discovery shall be governed by such Confidentiality Agreement;

               7.     All monies in the Escrow Account shall be returned to YRC as set out in

Section III above;

               8.     Plaintiffs’ Counsel and Lead Plaintiffs must return any payment of the

Attorneys’ Fees and Expenses Award or PSLRA Award in accordance with the terms of

Sections X.C and XI.B above; and

               9.     Except as specifically provided herein, nothing in this Settlement

Agreement shall create any obligation on the part of any Settling Party to pay any other Settling

Party’s fees or expenses.




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       C.      All of the exhibits attached to this Settlement Agreement are incorporated by

reference as though fully set forth herein.

       D.      The Settling Parties intend that the Settlement Agreement shall be a final and

complete resolution of all disputes that were, could have been, or could be asserted as to the

Released Class Claims and the Released Releasees’ Claims. Accordingly, the Settling Parties

agree not to assert in any forum that any conduct of Lead Plaintiffs and/or Defendants, or any of

them, in connection with this Action, the Settlement of this Action, or any of the Released Class

Claims or Released Releasees’ Claims was in bad faith or was unreasonable. No Settling Party

shall assert any Claim that any other Settling Party violated Rule 11 of the Federal Rules of Civil

Procedure relating to the prosecution, defense, or settlement of the Action, and the proposed

Approval Order shall contain a statement reflecting the Settling Parties’ compliance with

Rule 11.

       E.      The Settling Parties agree that the amount paid and the other terms of the

Settlement Agreement were negotiated at arm’s length in good faith by the Settling Parties and

reflect an agreement that was reached voluntarily, after consultation with experienced legal

counsel, and under the auspices of the experienced Mediator.

       F.      Each Settling Party’s counsel signing this Settlement Agreement represents that

he or she is authorized to enter into this Settlement Agreement on behalf of his or her clients.

       G.      Lead Plaintiffs, through their duly authorized representative, represent that they

(i) have agreed to serve as representatives of the Class proposed to be certified herein, (ii) have

consulted with Lead Counsel about the Action, this Settlement Agreement, and the obligations of

a representative of the Class, (iii) support the Settlement, and (iv) will remain in and not request

exclusion from the Class and will serve as representatives of the Class until the terms of this



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Settlement Agreement are effectuated, this Settlement Agreement is terminated in accordance

with its terms, or the Court at any time determines that Lead Plaintiffs cannot represent the Class.

       H.      This Settlement Agreement and the Supplemental Agreement set forth the entire

agreement among the Settling Parties as to their subject matter and may not be altered or

modified except by a written instrument executed by all Settling Parties’ counsel. Lead Plaintiffs

and Defendants expressly acknowledge that there are no agreements, arrangements, or

understandings among or between them concerning the subject matter of this Settlement

Agreement other than those expressed or referred to in this Settlement Agreement and the

Supplemental Agreement, and no Settling Party has relied upon any representation or warranty

not set forth expressly herein or in the Supplemental Agreement; provided further that the terms

of the Settlement Agreement supersede the agreement in principle reached on February 2, 2021.

       I.      This Settlement Agreement shall be governed by and interpreted according to the

laws of the State of New York, excluding its conflict-of-laws provisions, except to the extent that

federal law requires that federal law govern.

       J.      Any action arising under or to enforce this Settlement Agreement or the

Supplemental Agreement shall be commenced and maintained only in the Court, which shall

retain continuing, exclusive jurisdiction over all matters relating to the Settlement other than

those specifically reserved for resolution by the Mediator.

       K.      Whenever this Settlement Agreement requires or contemplates that a Settling

Party shall or may give notice to the other, notice shall be provided by email and/or next-day

(excluding Saturday, Sunday, and Legal Holidays) express-delivery service as follows and shall

be deemed effective upon such email transmission or delivery to the email address or street

address, as the case may be, below:



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               1.     If to Defendants, then to:

                              Ralph C. Ferrara
                              rferrara@proskauer.com
                              Proskauer Rose LLP
                              1001 Pennsylvania Avenue, N.W.
                              Suite 600 South
                              Washington, D.C. 20004
                              Telephone: (202) 416-6800

                                    and

                              Jonathan E. Richman
                              jerichman@proskauer.com
                              Proskauer Rose LLP
                              Eleven Times Square
                              New York, NY 10036-8299
                              Telephone: (212) 969-3000

               2.     If to Lead Plaintiffs, then to:

                              Donald P. Hall
                              dhall@kaplanfox.com
                              Jeffrey P. Campisi
                              jcampisi@kaplanfox.com
                              Kaplan Fox & Kilsheimer LLP
                              850 Third Avenue, 14th Floor
                              New York, NY 10022
                              Telephone: 212-687-1980

                              Michael J. Wernke
                              mjwernke@pomlaw.com
                              Pomerantz LLP
                              600 Third Avenue, 20th Floor
                              New York, NY 10016
                              Telephone: 661-1100

       L.      All time periods set forth herein shall be computed in calendar days unless

otherwise expressly provided. In computing any period of time prescribed or allowed by this

Settlement Agreement or by order of the Court, the day of the act, event, or default from which

the designated period of time begins to run shall not be included. The last day of the period so

computed shall be included, unless it is a Saturday, a Sunday, or a Legal Holiday, or, when the


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act to be done is the filing of a paper in Court, a day on which weather conditions or other

conditions have made the office of the Clerk of Court inaccessible, in which event the period

shall run until the end of the next day that is not one of the aforementioned days.

       M.      The Settling Parties reserve the right, subject to the Court’s approval, to make any

reasonable extensions of time that might be necessary to carry out any of the provisions of this

Settlement Agreement.

       N.      All Setting Parties agree that this Settlement Agreement and the Supplemental

Agreement were drafted by counsel for the Settling Parties at arm’s length and that no parol or

other evidence may be offered to explain, construe, contradict, or clarify their terms, the intent of

the Settling Parties or their counsel, or the circumstances under which the Settlement Agreement

and the Supplemental Agreement were made or executed. Nor shall there be any presumption

for or against any Settling Party that drafted all or any portion of this Settlement Agreement or

the Supplemental Agreement.

       O.      This Settlement Agreement, the offer of this Settlement Agreement, and

compliance with this Settlement Agreement shall not constitute or be construed as an admission

by any of the Releasees of any wrongdoing or liability, which Releasees expressly deny. This

Settlement Agreement is to be construed solely as a reflection of the Settling Parties’ desire to

facilitate a resolution of the Claims in the Complaint and of the Released Class Claims. In no

event shall this Settlement Agreement, any of its provisions, or any negotiations, statements, or

court proceedings relating to its provisions in any way be construed as, offered as, received as,

used as, or deemed to be evidence of any kind in the Action, any other action, or any other

judicial, administrative, regulatory, or other proceeding, except a proceeding to enforce this

Settlement Agreement. Without limiting the foregoing, neither this Settlement Agreement nor



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any related negotiations, statements, or court proceedings shall be construed as, offered as,

received as, used as, or deemed to be evidence or an admission or concession of any liability or

wrongdoing whatsoever on the part of any person or entity, including Defendants, or as a waiver

by Defendants of any applicable defense.

       P.      No opinion or advice concerning the tax consequences of the proposed Settlement

to individual Class Members or to any of the Settling Parties is being given or will be given by

Defendants’ Counsel and/or Lead Counsel; nor is any representation or warranty in this regard

made by virtue of this Settlement Agreement. Class Members will be directed to consult their

own tax advisors regarding the tax consequences of the proposed Settlement and any tax

reporting obligations they might have with respect to it. Each Class Member’s tax obligations,

and the determination thereof, are the sole responsibility of the Class Member, and it is

understood that the tax consequences may vary depending on the particular circumstances of

each individual Class Member.

       Q.      The Settling Parties, their successors and assigns, and their attorneys undertake to

implement the terms of this Settlement Agreement in good faith and to use good faith in

resolving any disputes that might arise in the implementation of the terms of this Settlement

Agreement.

       R.      The Settling Parties, their successors and assigns, and their attorneys agree to

cooperate fully with one another in seeking Court approval of this Settlement Agreement and to

use all reasonable efforts to effect the prompt consummation of this Settlement Agreement and

the proposed Settlement.




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                                    EXHIBITS

A:     Preliminary Approval Order

B:     Approval Order

C:     Judgment

D:     Postcard Notice

E.     Long-Form Notice

F:     Summary Notice

G:     Claim Form

H:     Confidentiality Agreement




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